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 1                                                                      The Honorable Robert J. Bryan
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 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9                                        AT TACOMA
10 DAVID T. GILCHRIST,                                  ) No. 3:14-cv-05066-RJB
                                                        )
11                                                      ) STIPULATION AND ORDER OF
                            Plaintiff,
                                                        ) DISMISSAL
12                                                      )
              vs.                                       )
13                                                      )
     CAPITAL ONE SERVICES, LLC,                         )
14                                                      )
                            Defendant                   )
15                                                      )
                                                        )
16
                                            I. STIPULATION
17
              The above-captioned parties hereby stipulate and agree that this matter has been fully
18
     compromised and settled and that this action and all claims asserted herein should be dismissed with
19
     prejudice to any party hereto.
20

21            RESPECTFULLY SUBMITTED AND DATED this 17th day of March, 2014.
22
     GRAHAM & DUNN
23

24
     By       s/ Steven A. Miller                          By s /
25        Steven A. Miller, WSBA #30388                       David T. Gilchrist, Plaintiff
          Email: smiller@grahamdunn.com
26        Attorneys for Capital One Services, LLC

     STIPULATION AND ORDER OF                                          GRAHAM & DUNN PC
     DISMISSAL -- 1                                                 Pier 70, 2801 Alaskan Way ~ Suite 300
                                                                       Seattle, Washington 98121-1128
                                                                     (206) 624-8300/Fax: (206) 340-9599
     No. 3:14-cv-05066-RJB
     m46886-2130641.docx
                 Case 3:14-cv-05066-RJB Document 15 Filed 03/18/14 Page 2 of 2




 1
                                                 II. ORDER
 2            Based on the above Stipulation,
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              IT IS HEREBY ORDERED, ADJUDGED AND DECREED that this action and all claims
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     asserted herein are dismissed with prejudice.
 5

 6            DONE IN OPEN COURT this 18th day of March, 2014.

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 9
                                            A
                                            ROBERT J. BRYAN
                                            United States District Judge
10

11

12 Presented By:                                           Approved as to form;
                                                           Notice of Presentation Waived
13 GRAHAM & DUNN

14

15 By s/                                                   By s /
      Steven A. Miller, WSBA #30388                           David T. Gilchrist
16    Email: smiller@grahamdunn.com
      Attorneys for Capital One Services, LLC
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